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EXHIBIT
66199

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SETTLEMENT AGREEMENT AND RELEASE

This SETTLEMENT AGREEMENT AND RELEASE is made by and between Ronald A.
Marshall and Good Vocations, Inc. and its owners, partners, shareholders, employees, agents,
affiliates, and subsidiaries, and all their officials, agents, directors, officers, managers,
supervisors, employees, agents, attorneys, insurers, representatives, successors and assigns
(collectively referred to as “Good Vocations”).

WITNESSETH:

WHEREAS, through counsel, Marshall filed a Complaint in the United States District Court for
the Southern District of Georgia, Augusta Division, styled Ronald A. Marshall v. Good
Vocations Inc. case no. l:ll-CV-00200-JRH-WLB, alleging violations of the Fair Labor
Standards Act, 29 U.S.C. § 201 et seq., and alleging retaliation for opposition to same, involving
matters arising from and related to his employment With Good Vocations and termination
thereof;

 

WHEREAS, Marshall and Good Vocations desire to resolve fully and finally the claims that are
alleged in the Complaint and Amended Complaint, that can be released by this Settlement
Agreement and Release, in an amicable manner without the difficulties and expenses involved in
further disputation;

NOW, THEREFORE, in consideration of the premises and promises contained herein, resolve
disputed claims and to finally resolve issues between them, Marshall and Good Vocations agree
as follows:

l. Good Vocations agrees to tender the sum Twenty Six Thousand and 00/ 100 Dollars
($26,000.00) to Marshall and his counsel within ten (lO) business days following execution and
return by Marshall of this Settlement Agreement and Release (said date being the “Effective
Date”) and following approval of the settlement by the Court and dismissal of the Complaint
identified above, for which IRS Forms W-2 and 1099 shall issue to Marshall and his counsel.
The apportionment of funds will be provided to counsel for Good Vocations by counsel for
Marshall on or before the Effective Date of this Agreement, and disbursal of funds is contingent
upon receipt of IRS forms W-9 from Marshall and his counsel. Marshall agrees that he at all
times remains liable for the tax treatment he and his counsel accord this settlement

This payment represents full and complete satisfaction of the claims Marshall alleged in
his Complaint (including back pay, compensatory and punitive damages, exemplary damages,
liquidated damages, expenses, costs, and attorneys’ fees). This Settlement Agreement and
Release specifically releases any and all claims Marshall may have arising under the Fair Labor
Standards Act, 29 U.S.C. § 201 et seq. lt does not include any claims that legally cannot be
released by this Settlement Agreement and Release.

2. In consideration of the foregoing, Marshall fully and forever surrenders, releases, acquits
and discharges Good Vocations and all its current and former owners, partners, officers,
officials, administrators, agents, attorneys, employees, liability insurers, successors and assigns,

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personally and in their individual and official capacities and any related entities of Good
Vocations, and/or entities owned or controlled by their owners, and all their subsidiaries,
divisions, parents, holding or affiliated companies, and their respective current and former
directors, officers, partners, administrators, agents, attorneys, liability insurers, managers,
employees, successors and assigns, personally and in their individual and official capacities, of
and from any and all claims, charges, actions, causes of action, demands, rights, damages, debts,
contracts, claims for costs or attorneys’ fees, expenses, compensation, punitive damages, and all
losses, demands and damages of whatsoever nature or kind in law or in equity, that could
reasonably be known, arising on or before the effective date of this Settlement Agreement and
Release which were raised or could have been raised in the Complaint.

3. The parties’ obligations to perform under this Settlement Agreement and Release are
conditioned upon the other party’s agreements and promises as set forth herein. The parties
acknowledge that a breach of any such agreement or promise may be actionable in a court of
competent jurisdiction and that the breaching party may be liable to the other party in damages
and may further be subject to imposition of injunctive remedies to enforce the provisions of this
Settlement Agreement and Release. The terms of this Settlement Agreement and Release shall
not be construed in favor of one party over the other.

4. Marshall represents and warrants that he has not assigned or sold, or in any way disposed
of his claims to anyone and that he will save and hold Good Vocations harmless of and from any
claims, actions, causes of action, demands, rights, damages, costs and expenses, including
attorneys fees, arising from a complete or partial assignment of the claims released.

5. This Settlement Agreement and Release is the compromise of a disputed claim and is not
to be construed as an admission of liability on the part of Good Vocations. Good Vocations
denies liability and enters into this settlement merely to avoid further costs and litigation.
Marshall is not in any legal sense a “prevailing party.”

6. There are no collateral or outside agreements, promises 0r undertakings other than those
expressly stated. This Settlement Agreement and Release sets forth the entire agreement between
the parties and fully supersedes any and all prior agreements or understandings between the
parties pertaining to the subject matter. This Settlement Agreement and Release may not be
modified except in writing signed by all parties. It is binding upon Marshall and his heirs,
administrators, executors, successors and assigns, and shall inure to the benefit Good Vocations
and its owners, partners, administrators, liability insurers, agents, attorneys, officers, employees,
Successors and assigns, and any related entities, and any other subsidiaries, divisions, affiliated
companies, corporations, and their respective directors, administrators, successors and assigns.

7. This Settlement Agreement and Release is made and entered into in the State of Georgia,
and shall in all respects be interpreted, enforced and governed under the laws of said state. It was
negotiated by counsel for the parties. This Settlement Agreement and Release shall not be
construed with a presumption for or against Marshall or Good Vocations. Should any provision
of this Settlement Agreement and Release be declared or be determined by any court to be illegal
or invalid, the validity of the remaining parts, terms or provisions shall not be affected thereby
and said illegal or invalid part, term or provision shall be deemed not to be a part of this
Settlement Agreement and Release. As used in this Settlement Agreement and Release, the

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singular or plural number shall be deemed to include the other whenever the context so indicates
or requires.

8. The parties agree to refrain from making any negative comments or public unprivileged
criticisms about one another and/or Good Vocations’ employees, parents, subsidiaries,
customers, officers, and agents, as applicable They agree not to publish, orally or in writing,
any unprivileged statement, comment, claim or other matter that may harm, injure or damage the
personal and/or business interests or reputation of the people and entities identified above. They
agree that if they do not maintain at least a neutral position in this area, they will be responsible
for paying all attorneys’ fees and expenses incurred by the disparaged party in any prevailing
action for equitable relief and/or damages pursued for purposes of alleging a breach of this
provision. Good Vocations will provide a neutral confirmation of employment for Marshall,
consisting only of job title and dates of employment, provided Marshall directs all inquiries
exclusively to Laine Dreher.

CONSULT WITH YOUR ATTORNEY.
READ THIS AGREEMENT CAREFULLY BEFORE SIGNING.
IT INCLUDES A RELEASE OF CLAIMS.

 

Ronald A. Marshall Date

 

Agent, Good Vocations, Inc. Date

Approved as to forrn:

 

Counsel for Marshall Date

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EXHIBIT
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OFFICE OF THE CHAPTER 7 TRUSTEE

 

A. STEPHENSON WALLACE
aswall]@btrustee.com P. O. BOX 14308 (706) 863-0400
3744 WAi:roN WAY E)CrENsloN Fsz (706) 863-2069
AucusTA, GEoRciA 30919

December 17, 2012

Robert J. Solomon

Kenney, Solomon & Medina, P.C.
3675 Crestwood Parkway

Suite 300_

Duluth, GA 30096

IN RE: Marshall, Chapter 7 No. 10-12357-SDB
Dear Robert

Thank you for your letter of December 1 1, 2012 regarding the above. Mr. Marshall
has exempted an amount that exceeds the lost wages recovered.

Therefore, I will be abandoning this asset and closing Mr. Marshall’s bankruptcy proceeding

as a no-asset case. If you have any questions, please do not hesitate to contact me.

Yours very truly,

jai/law

A. Stephenson Wallace
Chapter 7 Trustee

cc: Ronald A. Marshall

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EXHIBIT
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ATTORNEYS AT LAW

3675 CRESTWOOD PARKWAY, SU|TE 300

DULUTH, GEORGlA 30096
(770) 564-1600

FEDERAL TAX |D# XX-XXXXXXX

QU§L/F_ON_!YCELPT

|V|ARSHALL, RON

GOODW|LL |NDUSTR|ES, |NC.

03/01/2011
TSK

03/14/2011
RJS

03/17/2011
TSK

03/29/2011
TSK

04/21/2011
TSK

04/26/201 1

TSK

08/03/201 1

RJS

08/24/201 1
RJS

IV|ULT|PLE PHONE CONFERENCES W|TH CL|ENT;
REV|EW CL|ENT I\/|ATER|AL

REV|EW CASE LAW ON FLSA CLA||V|S; PREPARE AND
DRAFT COMPLA|NT

REV|EW LAW, F|LE AND COMPLA|NT; CONFERENCE
W|TH CO-COUNSEL

EMA|L CO-COUNSEL; TELEPHONE CONFERENCE
W|TH SAME

CONFERENCE W|TH CO-COUNSEL AND CL|ENT
REGARD|NG CASE

TELEPHONE CONFERENCE W|TH CHAPTER 7
TRUSTEE; TELEPHONE CONFERENCE W|TH
DEBTOR'S COUNSEL |N CHAPTER 7; REV|EW, DOCKET
AND RESCHEDULE

TELEPHONE CONFERENCE W|TH STEVE WALLACE;
EMA|L TO STEVE

TELEPHONE CONFERENCE W|TH TRUSTEE; MEMO

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KENNE¥, SOLOMON a MED|NA, P.C.

Page 1

September 30, 2012

Account No:

Statement No:

Rate

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MARSHALL, RoN

GOODW|LL INDUSTR|ES, |NC.

06/04/2012
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06/16/2012
RJS

07/20/2012
RJS

08/13/2012
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08/15/2012
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08/17/2012
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08/19/2012
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08/20/2012
RJS

08/21/2012
RJS

08/27/2012
RJS

REV|EW ALL AUD|O RECORD|NGS; REV|EW
DlSCOVERY RESPONSES‘, CORRESPONDENCE TO
OPPOS|NG ATTORNEY

REV|EW D|SCOVERY DOCUMENTS;
CORRESPONDENCE TO OPPOS|NG ATTORNEY
REGARD|NG DEF|CE|NCES (2.8)' TELEPHONE
CONFERENCE W|TH THE CL|ENT (.8); PREPARE AND
DRAFT DEPOSIT|ON NOT|CES (1.2)

PREPARE AND DRAFT REV|SED DEPOS|T|ON
NOT|CES; EMA|L TO CL|ENT W|TH DOCUMENTS AND
STATUS UPDATE

LEGAL RESEARCH JUD|C|AL ESTOPPEL |SSUE

REV|EW TRUCK LOGS AND THle cARDS AND CREATE
SPREADSHEET W|TH TRucK ARRlvAL THle vERSuS
CLOCK lN THle (4.3); TELEPHONE coNFERENCE W|TH
THE CL|ENT REGARD|NG CASE STATUS AND
PARAMETERS oF PoSSlBLE SETTLEMENT oFFER
(1.3); PREPARE AND DRAFT DEMAND LETTER To
cLlFToN (1.6)

TELEPHONE CONFERENCE W|TH THE CL|ENT
REGARD|NG DEPOS|T|ON PREPARAT|ON

PREPARE FOR DEPOS|T|ON (4.1); MEET W|TH CL|ENT
(3.0)

DEPOS|T|ON OF RON MARSHALL

REV|EW DOCUMENTS FOR DEPOS|T|ON (1.6);
DEPOS|T|ON OF TRACY HULL, MEG WEBB AND LYNN
H|CKS

CORRESPONDENCE TO CL|ENT REGARD|NG CASE
STATUS AND DEFENDANT'S OFFER OF JUDG|V|ENT

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Page 3

September 30, 2012

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MARSHALL, RON

GOODW|LL |NDUSTR|ESl |NC.

10/25/201 1
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10/27/2011
RJS
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REV|EW AND REV|SE COMPLA|NT, D|SCOVERY,
|NlT|AL D|SCLOSURES AND CERT|F|CATE OF
|NTENDED PART|ES; REV|EW LOCAL RULES; F|NAL|ZE
COMPLA|NT

F|NAL|ZE COMPLA|NT AND REQU|RED NOT|CES FOR
F|L|NG

REV|EW COMPLA|NT_

RECE|VE AND REV|EW ANSWER

E|V|A|L W|TH OPPOS|NG ATTORNEY REGARD|NG 26F
CONFERENCE; RECE|VE AND REV|EW ANSWER

REV|EW PLEAD|NGS AND SCHEDULING ORDER FOR|V|;
CONFERENCE CALL

REV|EW SCHEDULE; ORDER

PREPARE AND DRAFT |NlT|AL D|SCLOSURES (1.1);
REV|EW AND REV|SE RULE 26 REPORT PROPOSED BY
DEFENDANT'S COUNSEL (.4); RESEARCH
RETAL|AT|ON CLA|N|S AND POSS|BLE AMENDMENT TO
COMPLA|NT (.9)

PREPARE AND DRAFT A|V|ENDED COMPLA|NT
REGARD|NG CLA|M OF RETAL|AT|ON

PREPARE AND DRAFT |V|OT|ON TO A|V|END
COMPLA|NT (.7); El\/|AIL TO/FROM CL|ENT REGARD|NG
DISCOVERY FRON| DEFENDANT(.S)

PREPARE AND DRAFT RESPONSES TO D|SCOVERY;
SCHEDULE FOLLOW UP CALL W|TH CL|ENT TO
REV|EW AND REV|SE

PREPARE AND DRAFT |NTERROGATOR|ES AND
REQUESTS FOR PRODUCT|ON OF DOCUMENTS TO
PLA|NT|FF

Page 2

September 30l 2012

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Page 4
N|ARSHALL, RON September 30, 2012
Account No: 2240-OOO1|\/\
Statement No: 990060
GOODW|LL |NDUSTR|ESl |NC.
Rate Hours
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RJS TELEPHONE CONFERENCE W|TH OPPOS|NG
ATTORNEY 225.00 0.30 36.30
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REGARD|NG SETTLEMENT OFFER 225.00 0.20 24.20
09/06/2012
RJS TELEPHONE CONFERENCE W|TH OPPOS|NG
ATTORNEY _ 225.00 0.40 48.40
09/19/2012
RJS REV|EW SETTLEMENT AGREE|\/|ENT; EN|A|L TO
OPPOS|NG ATTORNEY 225.00 0.80 96.80
09/25/2012
RJS PREPARE AND DRAFT MOT|ON FOR APPROVAL;
TELEPHONE CONFERENCE W|TH OPPOS|NG
ATTORNEY; LETTER TO STEVE WALLACE 225.00 3,80 459.77
TOTAL LEGAL FEES 89.?0 10,853.50
E X__P_E_N__§E_S
01/03/2012 SERV|CE FEE 310.00
05/30/2012 TECHNOLOGY FEE 15.00
08/20/2012 PARK|NG COST FOR DEPOS|T|ON 5.00
09/17/2012 DEPO OF TRAC| HALL, LYNN H|CKS & MEG THOMPSON-WEBB 1,316.50
TOTAL EXPENSES 1.646.50
TOTAL FEES AND EXPENSES 12,500.00

BALANCE DUE $12,500.00

